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            Exhibit
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________________

SERVANTS OF JESUS AND MARY, INC.,
d/b/a THE FATIMA CENTER
                                                                      PLAINTIFF’S SUPPLEMENTAL
                        Plaintiff,                                    RESPONSES TO DEFENDANT
             v.                                                       THE NATIONAL COMMITTEE
                                                                      FOR THE NATIONAL PILGRIM
THE NATIONAL COMMITTEE FOR THE NATIONAL                                VIRGIN OF CANADA’S FIRST
PILGRIM VIRGIN OF CANADA, and, THE FATIMA                                 AND SECOND SETS OF
CENTER U.S.A., INC., and, ANDREW CESANEK,                                  INTERROGATORIES

                   Defendants.                                    Civil Action No. 1:18-cv-00731
_____________________________________________


         Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Servants of

Jesus and Mary, Inc., d/b/a The Fatima Center, (“SJM” or “Plaintiff”), as and for its

Supplemental Responses to the First and Second Sets of Interrogatories (Nos. 1-20) of Defendant

The National Committee for the National Pilgrim Virgin of Canada (“National Pilgrim”), states

as follows:

                         GENERAL OBJECTIONS AND RESPONSES

         SJM incorporates by reference its General Objections and Objections to Specific

Interrogatories, served on March 26, 2019 and November 13, 2019, (the "Objections"), into each

of its responses set forth below as though fully set forth therein.

             SUPPLEMENTAL RESPONSES TO SPECIFIC INTERROGATORIES

INTERROGATORY NO. 12:

Provide an itemization of damages with description (in U.S. Dollars) that Plaintiff alleges it
has sustained as a result of the conduct of NPV, TFC USA, and Cesanek.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 12:

         Subject to and without waiving its Objections, and reserving the right to further

supplement its response, SJM supplements its response to Interrogatory No. 12 as follows:


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         SJM further states that it has sustained economic damages of at least: $3,809,232 for the

past lost increase in net assets; $11,203,499 in future lost net assets and organizational value;

$391,527 in trust and estate bequests; and $735,597 in donations intended for SJM’s Niagara

Falls Facility, but diverted to NPV, in addition to the administrative, operation, and maintenance

expenses incurred by SJM for the Niagara Falls Building.

         Pursuant to Rule 33(d) of the Federal Rules of Civil Procedure, SJM further states that

facts sought by this Interrogatory may be derived or ascertained by documents produced by SJM

during discovery in this case, including documents Bates Stamped as SJM009071 – SJM009112,

SJM016946 – SJM016983, SJM016907 – SJM016945, SJM013058 – SJM016862, SJM013014

– SJM013056, and SJM-SUB-000001 – SJM-SUB-000727, as well produced by NPV and FCU

during discovery in this case, including documents Bates Stamped as 00001 – 00002, 00904 –

00993, 01141 – 01160, 01834 – 02037, 4960 – 5528, 05957 – 05958, 06127 – 06232, 06780 –

06918, 14144 – 14173, 14430 – 14898, and 14903 – 14912.

INTERROGATORY NO. 13:

Provide an itemization with description of all “publications and other inventory materials”
allegedly converted as referenced in paragraph 126 and Cause of Action Nine of Plaintiff’s
Amended Complaint.

RESPONSE TO INTERROGATORY NO. 13:

         Subject to and without waiving its Objections, and reserving the right to further

supplement its response, SJM supplements its response to Interrogatory No. 13 as follows:

         SJM further states that NPV removed from and never returned to SJM statues purchased

by SJM from St. Frances Imports, Inc. and “brown scapulars” purchased from Rose Scapular.

Pursuant to Rule 33(d) of the Federal Rules of Civil Procedure, SJM states that facts sought by

this Interrogatory may be derived or ascertained by documents produced by SJM during

discovery in this case, including documents Bates Stamped as SJM009435 – SJM009452.

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INTERROGATORY NO. 14:

Provide an itemization with description of any gifts or estate bequests received by Plaintiff
since January 1, 2017.

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 14:

         Subject to and without waiving its Objections, and reserving the right to further

supplement its response, SJM supplements its response to Interrogatory No. 14 as follows:

         Pursuant to Rule 33(d) of the Federal Rules of Civil Procedure, SJM states that the facts

sought by this Interrogatory may be derived or ascertained by documents produced by NPV

during discovery in this case, including documents Bates Stamped as SUBPOENA - 00001 –

SUBPOENA - 00452.

INTERROGATORY NO. 16:

    Identify all financial institutions at which SJM has maintained an account since 2014, and
    provide the following information:
         a.      All account numbers;
         b.      Branch location of the financial institutions;
         c.      Identify persons authorized to access and transfer funds from each account;
         d.      Identify the purpose for which SJM uses each account;
         e.      Date of account opening and account closing (if applicable).

SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 16

         Subject to and without waiving its Objections, and reserving the right to further

supplement its response, SJM supplements its response to Interrogatory No. 16 as follows:

         Pursuant to Rule 33(d) of the Federal Rules of Civil Procedure, SJM states that the facts

sought by this Interrogatory may be derived or ascertained by documents produced by SJM

during discovery in this case, including documents Bates Stamped as SJM013058 – SJM016862.




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DATED:           August 11, 2020                   BARCLAY DAMON LLP



                                                   By: __s/ David M. Fulvio________

                                                    David M. Fulvio, Esq.
                                                    Matthew J. Larkin, Esq.
                                                    Attorneys for Plaintiff
                                                        Servants of Jesus and Mary, Inc., d/b/a
                                                       The Fatima Center
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                                                    Syracuse, New York 13202
                                                    Telephone: (315) 425-2805

TO:      KLOSS, STENGER & LOTEMPIO
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         Attorneys for Defendants
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           and The Fatima Center U.S.A., Inc.
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                                         VERIFICATION

        On behalf of Plaintiff; Servants of Jesus and Mary, Inc., d/b/a The Fatima Center,

("SJM") and in my capacity as Vice President of SJM and Member of the SJM Board of

Directors, I have read the foregoing Supplemental Response to Defendant The National

Committee for the National Pilgrim Virgin of Canada's First and Second Sets of Interrogatories

and believe the same to be true and accurate.

        I do not have direct personal knowledge of the every fact contained herein. The response

was prepared with the assistance and advice of counsel. The answers are based on records and

information currently available. I reserve the right to make changes in or additions to any of

these answers if it appears at any time that errors or omissions have been made or if more

accurate or complete information becomes available. To the extent I do not have personal

knowledge, I have relied on others to gather the responsive information.

       Signed this /Zday of August 2020, I declare under penalty of perjury of the laws of the

United States that the foregoing is true and correct.




                                                    (ien Montgomery
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                                  CERTIFICATE OF SERVICE

         I, David M. Fulvio, Esq., certify, as counsel for Plaintiff Servants of Jesus and Mary, Inc.,

d/b/a The Fatima Center, that on this 12th day of August, 2020, I caused a true and correct copy

of Plaintiff’s Supplemental Responses to the First and Second Set of Interrogatories of defendant

The National Committee for the National Pilgrim Virgin of Canada to be served upon counsel

via electronic mail to the addresses listed below, in accordance with the Federal Rules of Civil

Procedure:

                 KLOSS, STENGER & LOTEMPIO
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                                                       __s/ David M. Fulvio________
                                                          David M. Fulvio




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